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1
1 IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
2 SOUTHERN DIVISION
3
4 GARY BRICE MCBAY,
Plaintiff,
5
6 VERSUS CIVIL ACTION NO: 1:07CV1205-LG-RHW
7
HARRISON COUNTY, MISSISSIPPI,
8 BY AND THROUGH ITS BOARD OF
SUPERVISORS; HARRISON COUNTY
9 SHERIFF GEORGE PAYNE; WAYNE
PAYNE; DIANE GASTON RILEY;
10 STEVE CAMPBELL; RICK GASTON;
RYAN TEEL; MORGAN THOMPSON;
11 JOHN DOES 1 - 4; AMERICAN
CORRECTIONAL ASSOCIATION;
12 JAMES A. GONDLES, JR.; UNKNOWN
DEFENDANTS 1 - 3 EMPLOYEES OF
13 AMERICAN CORRECTIONAL
ASSOCIATION; HEALTH ASSURANCE,
14 LLC, AND UNKNOWN DEFENDANTS 1
- 2 EMPLOYEES OF AMERICAN
15 CORRECTIONAL ASSOCIATION,
Defendants. ,
16
17
(18 DEPOSITION OF THOMAS RANDAZZO
19
20 Taken at the offices of Dukes, Dukes,
Keating & Faneca, 2909 13th Street,
21 Sixth Floor, Gulfport, Mississippi, on
Thursday, July 9, 2009, beginning at
22 9:32 a.m.
23
24
COP
25 wet

SIMPSON BURDINE & MIGUES (228) 388-3130
dusty@sbmbreporting.com

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wD WN

24

A. Yes, sir.

Q. And then you sat on him?

A. Once I sat on him, he was done.

Q. And when you sat on him, you had
motioned with your hand earlier that you were
holding his hands behind his back?

A. Yes, sir.

Q. Were you holding his hand with one hand
or two hands?

A, I had his wrists crossed. He had small

enough wrists to where I could actually lock them
in with one hand. -

Q. So you had him locked down with one hand
on the ground?

A. Yes, sir.

Q. And he couldn't get out of it?

A. No, sir.

Q. So it wasn't necessary for you to keep

hitting him to keep him under control?

A. No, sir.

Q. Did you hit him in the body in any way?
A. I just hit him the one time.

Q. In the face?

A. Yes.

Q. But you didn't hit him with any body

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